
686 S.E.2d 519 (2009)
NORTH CAROLINA DEPARTMENT OF REVENUE, Petitioner,
v.
Bernhard VON NICOLAI, Respondent.
No. 386P09.
Supreme Court of North Carolina.
November 5, 2009.
Brent W. Stephens, Winston-Salem, for Bernhard Von Nicolai.
Michael D. Youth, Assistant Attorney General, for NC Dept. of Revenue.
Prior report: ___ N.C.App. ___, 681 S.E.2d 431.

ORDER
Upon consideration of the petition filed on the 22nd of September 2009 by Respondent in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th of November 2009."
